 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

No. 1:12CV 1394

 

UNITED STATES of AMERICA,
Plaintiff,

Vv.

Terry S. Johnson, in his official capacity as
Alamance County Sheriff,

Defendant.

Deposition
of

PAUL BRYON CROTTS

In Graham, North Carolina
Wednesday, July 24, 2013
3:04 p.m. - 4:38 p.m.

Reported by:
Margaret M. Powell, CVR-M

 

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taken him home and we were on the way to her mother and
father's house. She asked me would I take her over
there so she could see her parents who was of an upper
age. I said I certainly would.

We went down -- are you familiar with
this area? Are you familiar with the roads that I'm
just ---

Q. Just, just -- if you'll just answer the
question, if I have any other questions ---

A. I went down Hanford Road. I turned
right on Monroe Holt Road. I went over a bridge. When
I got over the bridge I saw flashing lights. I saw the
rear end of a patrol car with the emergency flashers
on. I saw on the opposite side of the road headlights
flashing towards me.

My wife, says, "You got your license?
Checkpoint." I said, "Sure I do."

There was two cars in front of me, the
two car stopped. I stopped behind them. Two cars got
to the deputies, they went on.

I pulled up, took my license, handed it
to the officer, which was a female, her name was Sarah
Keller. And I said here, "You doing a license check"?
She reached over and looked at my wife and said, "Hey,

I recognize you." Never took my license from me and

 

 

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made the statement, "No, we're here to get us some."
Quote/unquote.

I do know that she was at an entrance
to a Hispanic trailer park, and she was not -- they
were not standing before the entrance, they was

Standing right in the entrance of the trailer park.

Q. And which trailer park was that?

A. It's called Rocky Top Mobile Home Park.
Q. And what was the date of this?

A. I have no idea what the date was.

Q. Do you know what year it was?

A. It was a couple of years ago.

Q. SO ---

A. I had no idea what -- I knew you was

going to ask me that and I tried to figure. I do know

that it was in the spring because I had my windows down

and -- but it was not hot-hot and, uh ---
Q. So it was spring of 2011, '10?
A. I'd say you're close, yeah.
Q. So last two or three years, would it

have been longer than that?

A. No, I didn't say three years.
Q Okay. Two years?

A. I said a couple of years.

Q Okay, so 2011 ---

 

 

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